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 MICHAEL JONAH and TOM VIRAG

                  IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I


 LIANE WILSON and JOANNA                  Case No. CV 11-00538 DKW-BMK
 WHEELER, on behalf of themselves
             Plaintiffs,                  JOINT STIPULATION AND ORDER
       vs.                                OF DISMISSAL

 WYNDHAM WORLDWIDE
 CORPORATION, WYNDHAM
 VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS,
 INC., MICHAEL JONAH, MARK
 POLLARD, TOM VIRAG, DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,
             Defendants.
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              JOINT STIPULATION AND ORDER OF DISMISSAL


        The parties, through their undersigned counsel, hereby stipulate and
  agree to dismiss all remaining claims in this lawsuit with prejudice, with each
  party to bear its own attorneys’ fees and costs.


  Dated: September 9, 2014.


  Respectfully Submitted,

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 APPROVED AND SO ORDERED:

 Dated: September 10, 2014, at Honolulu, Hawai’i.




                                        /s/ Derrick K. Watson
                                        Derrick K. Watson
                                        United States District Judge




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 Liane Wilson et. al., v. Wyndham Worldwide Corp., et al., CV 11-00538 DKW
 BMK; JOINT STIPULATION AND ORDER OF DISMISSAL




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